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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                  Order of Continuance

                        v.                                 24 Mag. 3535

 MOHAMED BAHI,

                                     Defendant.



       Upon the application of the United States of America and the affirmation of Robert B.

Sobelman, Assistant United States Attorney for the Southern District of New York, it is found that

the defendant was charged with violating Title 18, United States Code, Sections 1512 and 1519,

in a complaint dated October 7, 2024, and was arrested on October 8, 2024;

       It is further found that the defendant was presented before Magistrate Judge Robert W.

Lehrburger on October 8, 2024, and the defendant was ordered to be released on bail subject to

certain conditions on or about the same day;

       It is further found that Derek Adams, Esq., counsel for the defendant, and the Government

have been engaged in, and are continuing, discussions concerning the resolution of the case;

       It is further found that the Government has requested a continuance of 30 days to engage

in further discussions with counsel about the resolution of this case and that the defendant, through

counsel, has consented that such a continuance may be granted for that purpose and has specifically

waived his right to be charged in an indictment or information for an additional 30 days; and

       It is further found that the granting of such a continuance best serves the ends of justice

and outweighs the best interests of the public and the defendant in a speedy trial; and therefore it

is:
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       ORDERED that the request for a continuance pursuant to 18 U.S.C. § 3161(h)(7)(A) is

hereby granted until May 9, 2025.


Dated: New York, New York
              4 2025
       April ___,




                                         United States Magistrate Judge
                                         Southern District of New York
